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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NICHOLAS GIOVANNELLI,                )
                                      )
                   Plaintiff,         )
 v.                                   )                               Case No. 1:21-cv-01092
                                      )
 WALMART, INC., WAL-MART.COM USA,     )                               Judge Chang
 LLC, THE STOCKTREK CORPORATION d/b/a )
 STOCKTREK IMAGES, INC., PIXELS.COM,  )                               Magistrate Judge Kim
 LLC, AMAZON.COM, INC., AMAZON.COM    )
 SERVICES, LLC and POSTERAZZI CORP.,  )
                                      )
                   Defendants.        )

    DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
                      RESPONSIVE PLEADING

        Defendants Walmart Inc., Wal-Mart.Com USA, LLC, The Stocktrek Corporation,

Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC and Posterazzi Corp., by and

through their attorneys, hereby seek an extension of 30 days to file their responsive pleading in this

matter, and in support thereof state as follows:

        1.      Defendants removed this case to this court on February 24, 2021.

        2.      Defendants’ responsive pleading is due today March 3, 2021.

        3.      Defendants need an additional 30 days to file their responsive pleading.

        4.      Defendants’ counsel conferred with Plaintiff’s counsel about the motion and

Plaintiff’s counsel indicated he has no objection to the requested extension.

        WHEREFORE, Defendants, Walmart Inc., Wal-Mart.Com USA, LLC, The Stocktrek

Corporation, Pixels.Com, LLC, Amazon.Com, Inc., Amazon.Com Services, LLC and Posterazzi

Corp., request the Court extend the date to file their responsive pleading to April 2, 2021.
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                                            WALMART, INC., WAL-MART.COM USA,
                                            LLC, THE STOCKTREK CORPORATION,
                                            PIXELS.COM, LLC, AMAZON.COM, INC.,
                                            AMAZON.COM SERVICES, LLC and
                                            POSTERAZZI CORP.

                                            By: /s/James K. Borcia
                                                        One of Their Attorneys

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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing Notice of Removal was filed through the

Court’s electronic filing system. Service will be made by operation of that system upon counsel

for Plaintiff identified below, and Plaintiff’s counsel may access this document through the Court’s

CM/ECF system. Additionally, a copy of the foregoing Notice of Removal was served upon

Plaintiff’s counsel via mail and email at the addresses listed below.

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                                            Jessica Firlej
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Dated: February 24, 2021                                     /s/ James K. Borcia
                                                             James K. Borcia




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